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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )        Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )



                      DECLARATION OF WALTER DOE

      I, Walter Doe, declare the following under penalties of perjury:

      1.     I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.      I am a member of the American Foreign Service Association.

      3.      I have worked for USAID for over fifteen years. I currently serve

overseas as a controller. In that role, I am responsible for disbursing payments to

partners (like recipients of USAID grants), vendors (like cell phone companies and

other local service providers) and USAID employees. Each overseas mission is

assigned a controller who is trained, designated and formally appointed before being

registered with the US Treasury. Once designated, certifying officers are legally

responsible for ensuring that payments comply with appropriation laws and other

financial controls
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      4.     On January 20, based on the president’s executive order on foreign

financial assistance, I stopped certifying payments in compliance with the immediate

pause on new disbursements. Certification is the step through which authorized

payments are transmitted to the Treasury Department to be paid.

      5.     On January 24, we received a State Department cable (25 STATE 6828)

that “required the immediate issuance of stop-work orders” but also provided further

instruction about the foreign assistance freeze, including a list of waivers. One of

these waivers covered “salaries and related administrative expenses including travel

for USAID employees, including their living and operating expenses (residential rent,

communication, insurance, etc.). A second waiver allows payments for “legitimate

expenses incurred prior to January 24 under existing awards or legitimate expenses

associated with the stop-work orders.” Pursuant to this directive, I began trying to

certify certain approved payments (including for employee expenses) using our

electronic payment system called Phoenix.

      6.     However, shortly after beginning to attempt to certify payments again,

I noticed that the Phoenix system wasn’t functioning the way it had in the past.

Previously, after certifying a payment, I would be able to track its progress from

Phoenix via the Treasury Department to the bank for final disbursement, but starting

around January 27, the initial certification step would work but then the payment

would remain in my payment queue and never finish processing.

      7.     Over the next several days, I and the other controllers responsible for

processing payments tried to determine what was happening. We repeatedly asked



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our main counterpart in Washington, the Acting Deputy Controller, for updates and

guidance only to be told repeatedly throughout the week of January 27 to “stay tuned

for further updates” as he was working with the Office of the Administrator on

solutions. On January 30, I emailed him with my concerns and advised that “whoever

transmits the M/CFO batches to Treasury and State should understand that the

certifying officers take responsibility for their payments.” At this point I was growing

concerned because invoices were passing their due dates and we were not able to pay

them.

        8.    Every single payment that I tried unsuccessfully to process after

January 27 was for an expense incurred before January 20. Most of the payments I

have been trying to process were for expenses incurred in November or December of

2024. These included large payments to partners who bill us every month for the work

performed in the previous month, as well as smaller administrative items like cell

phone and other utility payments, travel reimbursements, and rental payments.

        9.    On February 3, the situation changed yet again. As of that date, every

time I tried to hit the “certify” button to begin a disbursement, I received an error

message stating that I did not have authority to proceed. I contacted Phoenix Security

to inquire if there was a technical problem in the system and was told “on Friday

January 31, we were instructed to remove the ability to certify payments.” They did

not indicate who instructed them, only stating “Unfortunately I am unable to reverse

this decision.”

        10.   On February 5, all USAID controllers received another diplomatic cable



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indicating that USAID personnel could no longer process payments themselves but

must request approval from a Senior Bureau Officer before forwarding the payment

packages for processing. However, as of February 11, nobody can agree on who is

the appropriate SBO for USAID payments and the State Department hasn’t

processed a single payment based on the new procedure.

      11.    As of February 9, when I try to log into Phoenix, I receive a new error

message stating that my sign-in attempt has failed. I have even less access to Phoenix

after the February 7 court order than I did before that date.

      12.    I have been in touch with many colleagues and all report the same

experience. To my knowledge, worldwide there are no USAID financial management

personnel, including controllers, that can access Phoenix.

      13.    I have not been able to process payments under any of the waivers

included in the January 24 cable, including legitimate expenses incurred prior to

January 24 under existing awards or those for employee operating expenses. Though

the waivers exist on paper, in reality all USAID funds have remained frozen because

of technological barriers added to the system, I don’t know by whom. Phoenix will not

let us disburse anything.

      14.    After three weeks of nearly a complete freeze, we have pending

payments to partners in the country where I serve amounting to $3.8 million

including $1.3 million in overdue payments which are incurring interest per the

Prompt Payment Act. We also have pending administrative payments of $0.2

million, including one residential lease for a colleague which expires on February 14



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and two school tuition payments for children of American colleagues who serve here

with me. Now that we are locked out of Phoenix, our voucher examiners can't even

work on the payment requests that continue to come in from partners and vendors

let alone make any effort to move them through the disbursement process.

      15.    We typically disburse $6-9 million per month for USAID activities "from

the American people" in the country where I serve. These payments go to local NGOs

and small businesses as well as US-based partners who have worked with us for

many years. Due to uncertainty about the stop-work order and fear that payments

may never resume, these partners have already laid-off staff and face potential

bankruptcy. It is legally and morally wrong to continue withholding payments from

partners    who    completed     work     in     good     faith   in     November      and

December. Furthermore, it is dangerous for the health and safety of my colleagues

overseas to withhold payment for their housing, insurance, cell phones, and other

basic needs. It is also worth noting that employees are owed for travel they

completed before January 20, which contributes to their anxiety as they face an

uncertain financial future.




I declare under penalty of perjury that the foregoing is true and correct.

      Executed on February 11, 2025.



                                               /s/ Walter Doe
                                               Walter Doe

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